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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JERAME JOHNSON,
PLAINTIFF
NO.::
V.
HON.
FABRI-KAL CORP.,
JASON DEITER, and
TWO MITTS INC.
DEFENDANTS _ : JURY TRIAL DEMANDED

 

NOTICE FOR REMOVAL OF ACTION PURSUANT TO 28 U.S.C.
§1332(a)(1), 1391(b)(2), 1441 (a) and (b), and 1446(a) and (b)

Come now the Defendants, by and through their attorneys, The Chartwell
Law Offices, LLP. by E. Patrick Heffron and hereby submit notice to the United
States District Court for the Middle District of Pennsylvania for Removal of the
above entitled action to this Court and in support thereof respectively represent the
following:

1. Plaintiff, Jerame Johnson filed a civil action in the Court of Common
Pleas of Philadelphia County on or about April 3, 2019. (A copy of the Complaint
is attached hereto as Exhibit “A.”)

2. Plaintiff served the Complaint on Defendants on or about April 8,

2019 per the Court’s docket.
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3. Pursuant to the Complaint, Plaintiff is an adult individual with an
address in New York.

4. | Moving Defendant, Fabri-Kal Corporation is a Michigan Corporation
with its principal place of business located at 600 Plastics Place, Kalamazoo, MI.

> Moving Defendant Jason G. Deiter is an adult individual with an
address in Luzerne County, PA.

6. Moving Defendant, Two Mitts Inc. is a Michigan Corporation with its
principal place of business located at 600 Plastics Place, Kalamazoo, MI.

7. Diversity of Citizenship exists between the Plaintiff, a citizen and
resident of New York, and all of the Defendants, citizens of Michigan and
Pennsylvania, pursuant to 28 USC 1332(a)(1) and 1441(a) and (b).

8. Said diversity of citizenship existed at the time the action sought to be
removed was commenced and continues to the time of the filing of this Notice.

9. The Plaintiff alleges that he was injured on June 2, 2017 in Luzerne
County, within the Middle District of Pennsylvania, when he was in an accident
involving Defendants’ tractor trailer.

10. Removal is based on diversity of citizenship pursuant to 28 U.S.C.
1332(a)(1) and 1441(a) and (b).

11. Removal of this case to the Middle District of Pennsylvania is proper

pursuant to 28 U.S.C. §1446.
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12. Venue is proper in the Middle District of Pennsylvania pursuant to 28
U.S.C. §1391 as the Middle District is a judicial district in which a substantial part
of the events or omissions giving rise to the Plaintiff's claim occurred.

13. Plaintiff has averred in his Complaint that he is seeking damages “in
excess of $50,000.”

14. The Plaintiff has alleged that he “suffered a facial laceration, neck
laceration, laceration to the left cheek requiring sharp excision using scalpel and
scissors and surgical repair with permanent scarring.”

15. The Plaintiff has alleged that he has “suffered severe physical pain,
mental anguish, humiliation, emotional upset, anxiety and depression.”

16. The Plaintiff has alleged that he was “rendered unable to engage in his
normal lifestyle and will continue to be unable to engage in his normal lifestyle”.

17. The Plaintiff has alleged past and future medical expenses and wage
loss expenses.

18. Counsel for the Plaintiff and counsel for the Defendants stipulated that
the proper court for removal purposes is the United States District Court for the
Middle District of Pennsylvania as the accident occurred in Luzerne County.

19. Based upon Plaintiff’s Complaint and the injuries and damages as
pled, it is believed, and therefore averred, that the Plaintiffs prayer for damages

will be in excess of $75,000.00, exclusive of interest and costs.
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20. Diversity of Citizenship existed at the time the action sought to be
removed was commenced and continues to the filing of this Notice. Therefore,
Moving Defendants are entitled to removal to the Middle District pursuant to 28
US.C. §1332(a)(1), 1391(b)(2), 1441(a) and (b), and 1446(a) and (b).

WHEREFORE, the above action now pending against the Defendants in the
Pennsylvania Court of Common Pleas of Philadelphia County is therefore removed
to this Honorable Court.

THE CHARTWELL LAW OFFICES, LLP

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